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    May 16, 2024

    VIA CM/ECF

    Honorable Jennifer L. Hall
    J. Caleb Boggs Federal Building
    844 N. King Street, Room 6312
    Wilmington, DE 19801-3555

    Re: Nippon Shinyaku Co. v. Sarepta Therapeutics, Inc., C.A. No. 21-1015-JLH

    Dear Judge Hall:

    I write on behalf of the parties in the above-referenced action—Nippon Shinyaku Co., Ltd.
    and NS Pharma, Inc. (collectively, “NS”), Sarepta Therapeutics, Inc. (“Sarepta”), and the
    University of Western Australia (“UWA”)—to inform the Court that the parties have been
    unable to reach agreement regarding rescheduling trial for the December 16, 2024 start date
    the Court has offered. The parties’ positions regarding rescheduling are set forth below.

    NS’s Position: NS respectfully requests that the Court set a trial date in this matter for
    December 16, 2024. It appears from the Abbott parties’ Joint Status Report (D.I. 694,
    attached as Ex. A hereto) that there is a dispute over when trial should begin with Mr.
    Morin’s opposing counsel requesting that trial start no earlier than April 2025. Given the
    dispute, it seems unlikely that Judge Jordan will accept the December 16th trial date in that
    matter.

    Insofar as the Court is not inclined to set trial in this matter for December 16, 2024, NS
    alternatively requests that this Court identify additional dates for trial in January and
    February 2025 so that the parties can identify a backup date and set the trial schedule as
    expeditiously as possible.

    Sarepta’s and UWA’s Position: As explained at the May 9 status conference, Mike Morin
    is also lead counsel in Abbott v. Dexcom, C.A. No. 21-977 (Del.), in which a March jury
    hung on one patent and did not reach damages on another, necessitating a retrial. The parties
    submitted available dates last Tuesday (D.I. 694), and the week of December 16 is likewise
    the parties’ first availability there. We respectfully ask that Judge Jordan be permitted to set



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    the retrial in that case before Your Honor schedules trial for that same week in this case. If
    Judge Jordan does not schedule trial for the week of December 16, Sarepta is prepared to
    proceed to trial that week. If he does schedule trial that week, we respectfully request the
    Court’s availability beginning in late February 2025, since Mr. Morin is also lead counsel in
    Allergan, Inc. and AbbVie Inc. v. Mankind Pharma LTD., C.A. No. 23-272 (JFM) (D. Del.),
    scheduled for trial beginning January 21, 2025. In addition, while NS represented at the
    status conference that it was not available until December 16, 2024, if any earlier dates have
    freed up since then, Sarepta would be happy to consider them.

    Respectfully submitted,

    /s/ Amy M. Dudash

    Amy M. Dudash (DE Bar No. 5741)

    CC: Counsel of Record (Via CM/ECF)
